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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


HECTOR GARCIA, and ROSEANN MORRSION              :
Individually and as Co-Administrators of the     :      Civil Action No. 2:24-cv-01949
Estate of SAHMYA GARCIA, Deceased                :
                                                 :
      v.                                         :
                                                 :
POLYMER 80 INC.                                  :
    and                                          :
MARCUS BURNEY                                    :


                                          ORDER

      AND NOW, on this _______ day of _____________, 2024, and upon consideration of
Plaintiffs’ Motion to Enforce and Amend the Court’s Order of October 1, 2024, ECF No. 18,
and any response thereto, it is hereby ORDERED that Plaintiffs’ Motion is GRANTED, and
that Plaintiff may collect the sum of $4,150.00 in attorney’s fees and costs from
Defendant, Polymer80 Inc., and Goldstein Law Partners LLC, jointly and severally.


                                          BY THE COURT:

                                          ______________________________________
                                          CHIEF JUDGE MITCHELL S. GOLDBERG
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Estate of SAHMYA GARCIA, Deceased                 :
                                                  :
       v.                                         :
                                                  :
POLYMER 80 INC.                                   :
    and                                           :
MARCUS BURNEY                                     :


       PLAINTIFFS’ MOTION TO ENFORCE AND AMEND THE COURT’S ORDER OF
                         OCTOBER 1, 2024, ECF. NO. 18

       Plaintiffs, Hector Garcia and Roseann Morrison, Individually and as Co-

Administrators of the Estate of Sahmya Heaven Garcia, Deceased (collectively,

“Plaintiffs”), by and through their undersigned counsel, hereby respectfully submit

Plaintiffs’ Motion to Enforce and Amend the Court’s Order of October 1, 2024, ECF No. 18,

and avers as follows:

       1.     On July 10, 2024, Plaintiffs filed a “Combined Motion to Remand for Improper

Removal and Motion for Sanctions Arising from the Second Removal of this Matter to State

Court,” which asked for the Court to remand this action to state court (for the second time)

and to Order for Plaintiffs to be compensated pursuant to 28 USCS § 1447(c) for attorney’s

fees and costs connected with the serial and frivolous removals of this case to federal

court. See ECF No. 12.

       2.     On August 12, 2024, the Court entered an Order that granted Plaintiffs’

Motion, remanded this case to state court, and stated that “Plaintiffs shall submit a bill of



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costs associated with Polymer80’s second removal, along with a declaration and

supporting documentation.” ECF No. 15.

       3.     On August 26, 2024, Plaintiffs filed a Bill of Costs that showed that Plaintiffs

incurred the sum of $4,150.00 in attorney’s fees and costs due to the second frivolous

removal of this case. ECF No. 16.

       4.     On August 30, 2024, Goldstein Law Partners LLC (“GLP”) ﬁled a Motion to

Withdraw as counsel for Defendant, Polymer80 Inc. (“Defendant Polymer80”). ECF No. 17.

       5.     However, GLP has represented Defendant Polymer80 at every stage of this

litigation, including vis-à-vis both frivolous removals.

       6.     On October 1, 2024, the Court entered an Order stating that “upon

consideration of Plaintids’ Bill of Costs (ECF No. 16), and Defendant having ﬁled no

objections or response in opposition thereto, Defendant is hereby ORDERED to pay the

sum of $4,150.00 in attorneys’ fees to Plaintids and their attorney, Keith West, Esquire,

within thirty (30) days of the date of this Order.” ECF No. 18.

       7.     The amount owed pursuant to the Order has not been paid, even though

more than 30 days have passed.

       8.     Additionally, the Order is arguably ambiguous.

       9.     First, the Order says that the amount is owed by “Defendant,” but this case

has numerous defendants.

       10.    Second, the Order does not specify whether the amount is owed jointly and

severally by GLP, even though it was GLP’s conduct that directly caused Plaintiffs to

unnecessarily incur the subject fees and costs.



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       11.    In fact, GLP has taken the position that it is not required to pay the subject

fees and costs and has claimed that Defendant Polymer80 is verdict proof.

       12.    For the foregoing reasons, Plaintids request for the Court to amend the

subject Order so as to clearly state who must pay the subject fees and costs, especially

because this now appears to be a matter that may require a separate collections action.

       WHEREFORE, Plaintiffs respectfully request for the Court to grant Plaintiffs’ instant

Motion, in the form of the attached proposed Order.


       Respectfully submitted,

       VICTIMS’ RECOVERY LAW CENTER

       /s/ Keith West______
       KEITH WEST, ESQUIRE
       Attorney for the Plaintiffs
       The North American Building
       121 South Broad Street, 18th Floor
       Philadelphia, Pennsylvania 19107
       215-546-1433 – Telephone
       keith@victimrecoverylaw.com




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Estate of SAHMYA GARCIA, Deceased                   :
                                                    :
       v.                                           :
                                                    :
POLYMER 80 INC.                                     :
    and                                             :
MARCUS BURNEY                                       :


                                 CERTIFICATE OF SERVICE

       I, Keith West, Esquire, on this date, by electronic filing and/or first-class mail,
caused a true and correct copy of Plaintiff’s Motion for Sanctions to be served on the
following:

              Via Electronic Filing:
              Shawn M. Rodgers, Esq.
              David R. Osborne, Esq.
              Goldstein Law Partners, LLC
              Attorneys for Defendant, Polymer 80 Inc.

              Via First Class Mail:
              Defendant, Marcus Burney, Inmate # QP8724
              c/o SCI FOREST
              P.O. Box 307
              286 Woodland Drive
              Marienville, PA 16239

       Respectfully submitted,

       VICTIMS’ RECOVERY LAW CENTER

       /s/ Keith West___________
       KEITH WEST, ESQUIRE
       Attorney for the Plaintiffs



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